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Petitioner has repeatedly requested that the Court appoint him counsel in this habeas
proceeding. (See Dkts. 1, 3, 5, 7, 19, 20.) Petitioner, however, has only advanced one habeas
claim (an alleged speedy-trial violation), and he has been able to set out, in clear terms, the
basis of that claim. Accordingly, at this time, Petitioner's application for counsel is denied,
but, if, upon review of the record, it appears to this Court that Petitioner's claim will turn on
any complex issues of fact or law, this Court may later revisit its ruling, without need for a
further application.

Respondent's opposition to the Petition is currently due 12/3/2020. If, upon receipt of that
opposition, Petitioner determines that, because of prison conditions (such as limited access to
the law library), he needs more than 30 days to file a reply, he may request an extension of
time.

In light of this ruling, the Clerk of Court is directed to close Dkt. 20 on the Docket of this
action. The Clerk of Court is also directed to mail a copy of this Order to Petitioner.

Dated: 11/2/2020
